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 10
 11
 12                                  UNITED STATES DISTRICT COURT
 13            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 14
 15 NATIONSTAR MORTGAGE LLC,                                            CASE NO. Not Yet Filed
 16                      Plaintiff,
                                                                        PLAINTIFF NATIONSTAR
 17            vs.                                                      MORTGAGE LLC AND JERED T.
                                                                        EDE'S NOTICE OF RELATED
 18 PATRICK JOSEPH SORIA, an                                            CASE AND NOTICE OF
    individual; WEST H&A, LLC, a                                        PENDENCY OF OTHER ACTION
 19 Delaware Limited Liability Company;
    WARRANTED EFFECTUATION OF
 20 SUBSTITUTE TRANSFEREE INC,                                          JUDGE:         Hon. NA
    AKA W.E.S.T Inc., a Delaware                                        TRIAL DATE:    None Set
 21 Corporation; WESTWOOD LEGAL, a
    California Corporation; WESTWARD
 22 LEGAL, a California Corporation;
    BRIGHTON LEGAL GROUP, PC, a
 23 dissolved California Corporation; BLG
    PC NATIONAL BY BRIGHTON
 24 LEGAL GROUP, INC., a Delaware
    Corporation; DEUTSCHE MELLON
 25 NATIONAL ASSET, LLC, a Wyoming
    Limited Liability Company;
 26 CHRISTIANA WILMINGTON
    GLOBAL ASSET CORP., a Delaware
 27 Corporation; HSBC US IN ITS
    CAPACITY AS LEGAL TITLE
 28 HOLDER INCORPORATED, a
                                                                    1      Case No. Not Yet Filed
         PLAINTIFF NATIONSTAR MORTGAGE LLC AND JERED T. EDE'S NOTICE OF RELATED CASE AND
                               NOTICE OF PENDENCY OF OTHER ACTION
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  1 Delaware Corporation; CAMDEN
    LEGAL GROUP, PC, a dissolved
  2 California Corporation; TAMYRA
    WHITE, an individual; GEORGE
  3 WESLEY JR. PIERCE, an individual;
    GRICELA MENDOZA, an individual;
  4 BERNARD GERMANI, an individual;
    REBEKAH BROWN, an individual;
  5 MICHAEL C. JACKSON, an
    individual; CYNTHIA LARA, an
  6 individual; F. MARTINEZ, an
    individual; JENNY DE LEON, an
  7 individual; ELBA CHAVEZ, an
    individual; RYAN ALEXANDER
  8 URQUIZU, an individual; ROGER
    FRANKLIN, an individual; AND
  9 WHATEVER NAME THEY MAY DO
    BUSINESS UNDER; and DOES 1
 10 through 10 inclusive
 11                      Defendant.
 12
 13            TO THE HONORABLE COURT, ALL PARTIES AND THEIR
 14 ATTORNEYS OF RECORD:
 15            Plaintiff Nationstar Mortgage LLC (“Nationstar”) and Jered T. Ede (“Ede”)
 16 (collectively, “Nationstar”) hereby provide notice that this action, Nationstar
 17 Mortgage LLC v. Patrick Joseph Soria, et al. (“Soria”) is related to Consumer
 18 Financial Protection Bureau v. Chance Edward Gordon, et al., Central District of
 19 California Case No. 2:12-cv-06147-PA-MRW (“Gordon”).
 20            Under Central District Local Rule 83-1.3, two or more cases are “related” if
 21 they appear:
 22            (a)       To arise from the same or closely related transaction, happening or
 23                      event; or
 24            (b)       To call for determination of the same or substantially related or similar
 25                      questions of law and fact; or
 26            (c)       For other reasons would entail substantial duplication of labor if heard
 27                      by different judges; or
 28 / / /
                                                                    2      Case No. Not Yet Filed
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   1            (d)       To involve the same patent, trademark or copyright, and one of the
   2                      factors identified above in a, b, or c is present.
   3            The Soria action and the Gordon actions are related under Local Rule 83-1.3
   4 subds. (a), (b), and (c). They appear to arise from the same series of transactions,
   5 happenings, or events; call for the determination of the same, substantially related,
   6 and/or similar questions of law and fact; and would likely entail substantial
   7 duplication of labor if heard by different judges. Thus, pursuant to Local Rule 83-
   8 1.3, the Soria action should be reassigned to the Honorable Percy Anderson, the
   9 judge presiding over the earlier-filed Gordon action.
 10             As detailed herein, the Soria action involves all or a material part of the
 11 subject matter of the Gordon action. (See L.R. 83-1.4.)
 12             Closely Related Claims: Soria is an action brought by Plaintiff Nationstar
 13 Mortgage LLC, a mortgage loan servicer, to protect the interest of at least thirty-
 14 seven (37) properties that have been affected by a fraudulent mortgage relief scheme
 15 orchestrated by Patrick Joseph Soria (“Soria”), and the various affiliated business
 16 entities created by Soria, whereby Soria advertised services to assist financially
 17 distressed homeowners to assist with preventing future foreclosure proceedings.
 18 Soria, through his own actions and that of his various affiliated business entities,
 19 used unfair and deceptive practices, suggested that borrowers would receive
 20 mortgage relief and receiving up-front payments for mortgage relief services from
 21 borrowers and misrepresenting material aspects of his services. Soria, through his
 22 own actions, through the actions of co-Defendants, and through Soria's various
 23 affiliated business entities, caused to record fraudulent Wild Documents (“Hijacked
 24 Loans”) for no fewer than thirty-seven (37) properties (“Hijacked Properties”). The
 25 scheme, devised by Soria, conducted unlawful mortgage relief practices through an
 26 interrelated network of companies with common business functions, employees,
 27 and office locations.
 28 / / /
                                                                     3      Case No. Not Yet Filed
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   1            The Gordon action is also an action related to a fraudulent mortgage relief
   2 scheme brought in the interest of numerous mortgagors by the Consumer Financial
   3 Protection Bureau (“CFPB”) against Defendant Chance Edward Gordon
   4 (“Gordon”), and all of his related business entities, for orchestrating a fraudulent
   5 mortgage relief scheme. Like Soria, the Defendants in Gordon advertised their
   6 services to distressed homeowners, likely facing foreclosure, to assist with mortgage
   7 relief services that did not benefit the borrowers. The Defendants in Gordon also
   8 charged the distressed homeowners fees for the fraudulent services.
   9            The similarity in both of these cases is not surprising given the eagerness for
 10 homeowners experiencing hardship to seek out assistance through companies
 11 advertising services for mortgage relief assistance. Homeowners experiencing
 12 hardship are likely to fall prey to fraudulent schemes like that in Gordon and Soria,
 13 which do not benefit the Homeowner, servicer, or investor.
 14             Relating or Consolidating These Cases Will Prevent Substantial
 15 Duplication of Effort: Consolidating or relating these cases will prevent
 16 substantial duplication of effort. The Gordon action has been pending since July 18,
 17 2012 and significant litigation has occurred. Because the cases concern the same
 18 legal backdrop, and near identical claims, the parties will likely be forced to litigate
 19 legal questions that have been, or will be, before the Hon. Percy Anderson in the
 20 Gordon matter. Accordingly, judicial effort and the parties’ resources will be
 21 conserved if the Soria matter is deemed related to the Gordon matter and transferred
 22 to Judge Anderson.
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   1            Assignment of the Soria matter to Judge Anderson will promote judicial
   2 economy and also conserve the resources of the parties. Accordingly, Nationstar
   3 respectfully requests that the Court deem the Soria matter related to the Gordon
   4 matter and assign it to Judge Anderson.
   5
   6 DATED: April 11, 2018                                   HALL HUGUENIN LLP
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   8
                                                             By:
   9
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 10                                                               Jered T. Ede
 11                                                               Timothy A. Burnett
                                                                  Jane M. Kutepova
 12                                                               Cheyenne S. Schneider
 13                                                          Attorneys for Plaintiff
                                                             NATIONSTAR MORTGAGE LLC
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